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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF KENTUCKY


ANGELA WILSON,                                )
                                              )
        Plaintiff,                            )
                                              )
vs.                                           )       CASE NO.
                                              )
EQUIFAX INC., et al.,                         )
                                              )
        Defendants.                           )

                                    NOTICE OF REMOVAL

        Defendant, Equifax Inc., by Counsel, and hereby file this Notice of Removal of this

action from the Boone County Circuit Court, Kentucky, wherein it is now pending as Case No.

17-CI-00326, to the United States District Court for the Eastern District of Kentucky. This

Notice of Removal is filed pursuant to 28 U.S.C. §§ 1441 and 1446.               In support hereof,

Defendants show this Court as follows:

        1.      An action was filed on March 9, 2017 in the Boone County Circuit Court, entitled

Wilson v. Equifax Inc., et al., Case No. 17-CI-00326 (the “State Court Action”).

        2.      Equifax Inc. was served with the Complaint on March 14, 2017.

        3.      This Notice is being filed with this Court within thirty (30) days after Equifax Inc.

was served with a copy of Plaintiff’s initial pleading setting forth the grounds for her action and

her claims for relief.

        4.      This Court has original jurisdiction over this case pursuant to 28 U.S.C. § 1331, in

that this is a civil action arising under the Constitution, laws or treaties of the United States;

specifically 15 U.S.C. § 1681 et seq., otherwise known as the Fair Credit Reporting Act

(“FCRA”), as follows:
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         (a)    Plaintiff’s Complaint, on its face, alleges a violation of the FCRA.          (See

Plaintiff’s Complaint).

         (b)    The FCRA, pursuant to 15 U.S.C. § 1681(p), provides that any action alleging a

violation of its provisions “may be brought in any appropriate United States district court without

regard to the amount in controversy . . .”

         5.     Promptly after the filing of this Notice of Removal, Equifax shall give written

notice of the removal to Plaintiff and to the Clerk of the Boone County Circuit Court, Kentucky,,

as required by 28 U.S.C. § 1446(d).

         6.     Attached hereto, as Exhibit A, are copies of the Summons and Complaint served

upon Equifax Inc. in the State Court Action.

         7.     Defendant Trupartner Credit Union has not yet been served. Therefore, its consent

to removal is not required.

         WHEREFORE, Equifax Inc. requests that the above-described action be removed to this

Court.

         Respectfully submitted this 3rd day of April, 2017.


                                                     Respectfully submitted,

                                               By: /s/ John M. Williams
                                                   John M. Williams
                                                   Rajkovich, Williams, Kilpatrick & True, PLLC
                                                   3151 Beaumont Centre Circle, Suite 375
                                                   Lexington, Kentucky 40513
                                                   Tel: (859) 245-1059
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                                                     Counsel for Defendant Equifax Inc.




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                                CERTIFICATE OF SERVICE

        This is to certify that I have this day electronically filed a true and correct copy of the

foregoing with the Court using the CM/ECF system, which will send notification of such filing

to all attorneys of record:

Zachary L. Taylor
Taylor Couch PLLC
2815 Taylorsville Road, Suite 101
Louisville, KY 40205




Dated: April 3, 2017.
                                                     /s/ John M. Williams
                                                     John M. Williams




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